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    UNITED STATES DISTRICT COURT
    FOR THE DISTRICT OF RHODE ISLAND

    DOLORES CEPEDA

          VS                                      C.A.2019-CV-5

    BANK OF AMERICA, N.A.
    FAY SERVICING, LLC
    WILMINGTON TRUST NATIONAL ASSOCIATION
    SOLEY AS TRUSTEE FOR THE MFRA TRUST 2014-2 , ALIAS


             OBJECTION TO MOTION FOR SUMMARY JUDGMENT

          Plaintiff, by her attorney, objects to the Motion for Summary

    Judgment for the reasons stated in the attached Affidavit and Memorandum

    of Law. The Plaintiff has raised general issues of material fact.



                                                  DOLORES CEPEDA
                                                  By her attorney,


    February 13, 2020                             /s/ John B. Ennis
                                                  JOHN B. ENNIS, ESQ. #2135
                                                  1200 Reservoir Avenue
                                                  Cranston, Rhode Island 02920
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                         Certificate of Service



    I hereby certify that I emailed a copy of this Objection to Patrick T.
    Uiterwyk and Justin Shireman on February 13, 2020.

    /s/ John B. Ennis




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